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             EXHIBIT D
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 1                              UNITED STATES DISTRICT COURT
 2                           NORTHERN DISTRICT OF CALIFORNIA
 3                                   SAN FRANCISCO DIVISION
 4   IN RE TESLA, INC. SECURITIES                      Case No. 3:18-cv-04865-EMC
     LITIGATION
 5                                                     Class Action
 6
                                                       SUMMARY NOTICE OF PENDENCY
 7                                                     OF CLASS ACTION

 8

 9   TO:    ALL PERSONS WHO PURCHASED AND/OR SOLD TESLA, INC. STOCK,
            OPTIONS, AND/OR OTHER SECURITIES FROM 12:48 P.M. EDT ON
10          AUGUST 7, 2018 TO AUGUST 17, 2018, A CLASS ACTION LAWSUIT
            MAY AFFECT YOUR RIGHTS.
11
     YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules of Civil Procedure
12   and an Order of the United States District Court for the Northern District of California, that the
13   above-captioned action (“Action”) against Tesla, Inc. (“Tesla”), Elon Musk, Brad W. Buss,
     Robyn Denholm, Ira Ehrenpreis, Antonio J. Gracias, James Murdoch, Kimbal Musk, and Linda
14   Johnson Rice (collectively “Defendants”), has been certified as a class action on behalf of the
     Class, except for certain persons and entities that are excluded from the Class as set forth in the
15   full printed Notice of Pendency of Class Action (“Notice”). Plaintiff Glen Littleton has been
     appointed by the Court to represent the Class as the Class Representative. By certifying the Class
16
     and issuing the Notice, the Court is not suggesting that the Class Representative will win or lose
17   this case; he will instead attempt to prove his claims in proceedings that have not yet occurred.

18   IF YOU ARE A MEMBER OF THE CLASS, YOUR RIGHTS MAY BE AFFECTED BY THIS
     LAWSUIT. The full printed Notice is currently being mailed to known Class Members. If you
19   have not yet received a full printed Notice, you may obtain a copy from the website for the Action,
     _________________, or by contacting the Notice Administrator at _________________.
20

21   If you did not receive the Notice by mail, and believe you are a member of the Class, please send
     your name and address to the Notice Administrator so that if any future notices are disseminated
22   in connection with the Action, you will receive them.
23   Inquiries, other than requests for the Notice, may be made to Court-appointed Class Counsel:
24
              LEVI & KORSINSKY, LLP                            LEVI & KORSINSKY, LLP
25               Adam M. Apton, Esq.                             Nicholas I. Porritt, Esq.
              388 Market Street, Suite 1300                   1101 30th Street NW, Suite 115
26              San Francisco, CA 94111                          Washington, DC 20007
                    (415) 373-1671                                   (202) 524-4290
27

28   If you are a Class Member, you have the right to decide whether to remain a member of the Class.

                            SUMMARY NOTICE OF PENDENCY OF CLASS ACTION
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     If you choose to remain a member of the Class, you do not need to do anything at this time other
 1   than retain your documentation reflecting your transactions in Tesla securities. You will
 2   automatically be included in the Class, and you will be bound by the proceedings in this Action,
     including all past, present and future orders and judgments of the Court, whether favorable or
 3   unfavorable. If you are a Class Member and do not wish to remain a member of the Class, you
     must take steps to exclude yourself from the Class.
 4
     If you timely and validly request to be excluded from the Class, you will not be bound by any
 5
     orders or judgments in the Action, and you will not be eligible to receive a share of any money
 6   that might be recovered in the future for the benefit of the Class. To exclude yourself from the
     Class, you must submit a written request for exclusion postmarked no later than __________,
 7   2021, in accordance with the instructions set forth in the full printed Notice. If at a later date the
     parties decide to settle before trial, then you will have another opportunity to opt out or exclude
 8   yourself from the case. Absent settlement however, you will not be able to exclude yourself from
     the Class or subsequent orders and judgments if you do not request exclusion in response to this
 9
     notice. If you do not exclude yourself from the class, regardless of the outcome of the Action, you
10   will not be able to sue Defendants—as part of any other lawsuit—regarding the factual
     circumstances and legal claims asserted in this case.
11
               Please Do Not Call or Write the Court or the Defendants with Questions.
12
     Dated: ____________, 2021                      BY ORDER OF THE COURT:
13
                                                    UNITED STATES DISTRICT COURT
14                                                  NORTHERN DISTRICT OF CALIFORNIA

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                             SUMMARY NOTICE OF PENDENCY OF CLASS ACTION
                                      CASE NO. 3:18-CV-04865-EMC
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